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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

CHET SMITH,

               Plaintiff,                           Case No. 19-CV-3373

       v.                                           Judge John Z. Lee

COOK COUNTY et al.,

               Defendants.

                                  JOINT STATUS REPORT

       Plaintiff, Chet Smith (hereinafter “Plaintiff”), through attorneys Peter J. McAndrews,

Rajendra Andrew Chiplunkar, and Ashley Marie Ratycz, and Defendants Lt. Calderone, Cook

County, Illinois, Division 9 Superintendent, Sgt. Duran, Newworld Eboigbe, Torrence Gresham-

Trotter, Eva Hannah, Sarah Iguodala, Helen Iwuchukwu, David Joyner, Candice Kaminski,

Velinda Llorens, Javan Lloyd, Shirley McMcBride, Bernard Menutt, Correctional Officer

Mitchell, Cendi Morgan, Annette Myers, Felicia Ogbuli, Evelyn Okeke, Correctional Officer

Pondexter, Rekiya Randle, Susie Smith-Awolaja, Karen Turner, Velinda Vercher, and Lourdes

Welbon, (hereinafter “Defendants”) by and through their attorney, Kimberly M. Foxx, through her

Assistant State’s Attorney, Antonio Lee (together, the “Parties”), pursuant to Court Order on

November 18, 2022 (Dkt. No. 146), submit the following Joint Status Report:

       1. On November 16, 2022, the Parties filed a motion for reinstatement of summary

            judgment on the issue of exhaustion, or in the alternative, for a hearing pursuant to

            Pavey v. Conley (hereinafter, the “Motion”). See Dkt. No. 144.
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        2. On November 18, 2022, the Court granted the Parties’ Motion and instructed the Parties

            to file a brief joint status report confirming the list of briefs and filings in connection

            with the Motion. See Dkt. No. 146.

        3. The Parties confirm the following list of relevant briefs and filings in connection with

            the Motion:

                 a. Dkt. No. 131: Defendants’ Motion for Summary Judgment on the Issue of
                    Exhaustion

                 b. Dkt. No. 132: Defendants’ Local Rule 56.1(a) Statement of Material Facts

                 c. Dkt. No. 133: Defendants’ Memorandum of Law in Support of Their Motion
                    for Summary Judgment on the Issue of Exhaustion

                 d. Dkt. No. 134: Plaintiff’s Memorandum of Law in Response to Defendants’
                    Motion for Summary Judgment on the Issue of Exhaustion

                 e. Dkt. No. 135: Plaintiff’s Response to Defendants’ Statement of Material Facts
                    and Statement of Additional Facts pursuant to Local Rule 56.1

                 f. Dkt. No. 136: Defendants’ Response to Plaintiff’s Additional Facts pursuant to
                    Local Rule 56.1(b)

                 g. Dkt. No. 137: Defendants’ Reply Brief in Support of Their Motion for
                    Summary Judgment on the Issue of Exhaustion

                 h. Dkt. No. 145: Transcript of Proceedings Held on May 6, 2022



Date: December 2, 2022.

For Plaintiff:                                         For Defendants:

/s/ Peter J. McAndrews                                 /s/ Antonio Lee
Peter J. Andrews                                       Antonio Lee
McAndrews, Held & Malloy, P.C.                         Cook County State’s Attorney’s Office
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One of the Attorneys for Plaintiff                     Attorney for Defendants




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